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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------- X
MARY NAMORATO                                                    :
                                                                 :
                      Plaintiff, on behalf of herself            :   Civil Action No.
                      and all others similarly situated,         :
                                                                 :
              -against-                                          :   CLASS ACTION COMPLAINT
                                                                 :
TOWN SPORTS INTERNATIONAL, LLC and                               :
TOWN SPORTS INTERNATIONAL HOLDINGS, :                                Jury Trial Demanded
INC. d/b/a NEW YORK SPORTS CLUBS,                                :
                                                                 :
                      Defendants.                                :
---------------------------------------------------------------- X

        Plaintiff Mary Namorato alleges against Defendants Town Sports International LLC and

Town Sports International Holdings, Inc. (together “TSI”) as follows:

                                     PRELIMINARY STATEMENT

        1.       At a time when New Yorkers are using all their efforts to help one another and

make sacrifices necessary to meet the daily challenges associated with a the health and economic

crisis created by the novel coronavirus are suffering, TSI – the publicly-traded company which

owns and operates the ubiquitous gym brand New York Sports Clubs (“NYSC”) – is defrauding

and stealing from customers.

        2.       All NYSC gyms are currently closed and non-operational. Nonetheless, TSI is

outrageously continuing to charge members their monthly membership dues, which are paid for

one purpose and one purpose only – to access NYSC gyms. By contract and by law, TSI charges

customers membership dues strictly in exchange for gym access, and despite not providing such

gym access it continues to charge customers’ credit cards.

        3.       People around the country are feeling enormous financial strain due to “shelter-in-

place” regulations, business closures, abrupt mass layoffs and the recent market collapse. As a
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result, numerous gyms chains have on their own accord announced that membership charges will

be suspended.1 TSI has not – and this conduct is the height of corporate greed, lack of empathy

and putting profits before people.

       4.       The scope of this conduct cannot be overlooked. According to TSI’s Form 10-K

annual report filed with the Securities and Exchange Commission (“SEC”) on March 20, 2020

(the “2019 Annual Report”), the company boasts 605,000 members,2 who pay monthly

membership dues ranging from approximately $30 to $120.3 Therefore, even assuming average

monthly rate of $50, TSI is stealing $30,250,000 per month from customers.

       5.       To make matters worse, during this time, TSI has also made it virtually

impossible for members to cancel their memberships and has refused to honor many members’

cancellation requests. NYSC has a long history of refusing to honor member cancellation

requests, but it is particularly reprehensible in this moment. NYSC members have been

frantically posting messages on Yelp! and Facebook seeking help to avoid further charges:




1
        See, e.g., Equinox https://www.equinox.com/covid19update?icmp=banner-covid (stating
“Your membership will be put on freeze at no cost as of the day the club closed. No further
action is required to freeze”); Planet Fitness https://www.planetfitness.com/health (“Out of an
abundance of caution, all of our clubs have closed until further notice. As your long-term partner
in fitness, we have proactively frozen all memberships on your behalf, and you will not be
charged any fees during this time”); Blink Fitness https://www.blog.blinkfitness.com/blink-
fitness-gym-updates (“What happens to my membership if my gym is closed? You will not be
billed during the time that your Blink gym is closed. Your membership will be put on freeze until
we re-open. No action is needed on your part to start the freeze.”); Barry’s BootCamp
https://www.barrys.com/covid-19/ (“For any existing reservations, we will return these classes to
your account. Additionally, all class packages and memberships will be adjusted to reflect the
duration of these closures”).
2
        See https://investor.mysportsclubs.com/static-files/3218e839-c8aa-4d2a-ad14-
907e8f27ffd6 (last accessed March 25, 2020).
3
        See https://www.newyorksportsclubs.com/clubs/23rd-park;
https://www.newyorksportsclubs.com/clubs/forest-hills (last accessed March 25, 2020).


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       6.       Despite these pleas and cries for help, TSI has failed to provide customers any

substantive response to these requests – leaving customers effectively “dangling in the wind” to

try to figure out how to protect themselves from being further charged for services not being

provided. Of course, TSI likely prefers it this way as it makes it excessively difficult to cancel

one’s membership, if possible at all.

       7.       This is hardly the first case filed against TSI for taking advantage of customers

whose credit cards TSI has on file and fraudulently charging them fees and dues. TSI has a well-

documented pattern of engaging in deceptive, dishonest and fraudulent conduct that amounts to

stealing from and ripping-off its customers who are desperately trying to cancel memberships.




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       8.        In 2016, the Washington, D.C. Attorney General’s Office (the “DC AG”)

investigated TSI (with respect to its Washington Sports Clubs-branded locations) for fraudulently

refusing to allow customers to cancel their memberships. In November 2016, the DC AG issued

a press release describing a settlement which stated:

                 Consumers should not be on the hook when companies mislead
                 them with unclear and inconsistent cancellation policies.
                 Washington Sports Club members who made a good-faith effort to
                 end their membership deserve the restitution that this settlement
                 provides . . . Although the membership agreements stated that
                 consumers must cancel in writing and give 30 days’ notice, club
                 employees routinely told consumers that they could cancel at any
                 time by informing a desk employee or manager at the club. The
                 company then continued to charge consumers who canceled in this
                 manner.4

       9.        Following this settlement, TSI made no genuine changes and continued to operate

with a “business as usual” approach – outright disregarding customers who wanted to cancel

their membership and continuing to charge their credit cards.

       10.       In 2018, 65 individuals – TSI gym members from six different states – filed two

separate a class action lawsuit against TSI claiming that they were subject to nearly identical

fraudulent business practices as what had been investigated by the DC AG. See Lehnert, et al. v.

Town Sports International, LLC, et al., No. 18-cv-02705 (S.D.N.Y. filed December 7, 2018)

(Second Amended Complaint with 55 plaintiffs); Tuan, et al. v. Town Sports International, LLC,

et al., No. 19-cv-02812 (E.D.N.Y. filed May 13, 2019) (10 plaintiffs also alleging that TSI

refused to honor cancellation requests and continued to charge customers following cancellation

requests).




4
        Available at: https://oag.dc.gov/release/attorney-general-obtains-settlement-washington
(last accessed March 25, 2020).


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       11.    On January 8, 2019, the DC AG filed yet another lawsuit against TSI captioned as

District of Columbia v. Town Sports International, LLC, No. 2019 CA 000126 (D.C. Sup. Ct.

Jan. 8, 2019), this time alleging more of the same unlawful and deceptive conduct despite the

previous agreement to refrain from this behavior:

              [S]ince entering into the [settlement agreement], TSI has continued
              to engage in cancellation practices in violation of both the
              [settlement agreement] as well as the [consumer protection laws].
              In particular, TSI makes misrepresentations about its cancellation
              policies and fees to lure consumers to purchase memberships. For
              example, consumers are told that they may cancel at any time for
              free, when, in fact, TSI requires approximately six weeks’ notice
              and charges cancellation fees. TSI also maintains policies that
              make it extremely difficult for consumers to cancel their
              memberships and TSI fails to inform consumers of these policies.
              As a result, consumers believe that they have taken the appropriate
              steps to cancel their memberships, but TSI continues to charge
              consumers for months (and sometimes years). In some cases,
              consumers have continued being charged even after receiving
              emails confirming their cancellation or being verbally assured by
              TSI representatives that their memberships had been effectively
              cancelled. Adding to this confusion, TSI does not provide written
              membership contracts to consumers that include its cancellation
              policies, even after consumers request copies.

The DC AG also alleged – identically to the Lehnert and Tuan plaintiffs – that:

              TSI uses an electronic signing pad when signing up consumers for
              memberships at its facilities. TSI representatives verbally
              communicate the terms of membership to consumers. As
              described above, however, TSI representatives make false and
              misleading statements about consumers’ membership terms that
              contradict the terms in TSI's membership contracts. TSI does not
              allow consumers to view the terms of membership when signing
              up. Instead, consumers are asked to sign an electronic pad without
              having the opportunity to read or review the terms of their
              membership agreements.

       12.    The DC AG sought to “stop TSI from engaging in the unlawful trade practices”

including making deceiving or misleading statements to consumers about the cancellation of




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their memberships and/or making untrue or misleading representations regarding its cancellation

policies. The DC AG also issued a press release stating:

                It’s clear that Washington Sports Club is still making money
                by deceiving consumers, and that is not acceptable . . . We are
                filing this lawsuit to protect District consumers and to warn
                businesses that if they profit by misleading or hiding
                information, we will hold them accountable for breaking the
                law . . . TSI is violating both consumer protection laws and a 2016
                settlement agreement by misleading consumers about the terms of
                membership agreements, failing to inform them of the gym’s
                cancellation policies, and continuing to charge them even after
                they attempt to cancel their gym memberships, among other
                deceptive business practices. [We are] seeking to stop TSI’s illegal
                conduct, provide relief for consumers who were harmed, and
                impose civil penalties.5

        13.     Similarly, the Better Business Bureau (“BBB”) has received an outrageous

number of complaints from consumers regarding TSI’s conduct. Over the last three years, the

BBB has received well over 1,000 consumer complaints from TSI’s gym members. Not

surprisingly, the BBB gives the company an overall “F” grade and customer reviews yield a

score of one-star out of five-stars:6




5
       Available at: https://oag.dc.gov/release/ag-racine-sues-washington-sports-club-
misleading (last accessed March 25, 2020).
6
       Available at: https://www.bbb.org/us/ny/new-york/profile/health-club/new-york-sports-
clubs-0121-554#overview (last accessed March 25, 2020).


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       14.     TSI’s “F” rating with the BBB is not the result of one “bad apple” that brings

down the rest of the company. To the contrary, each NYSC gym location represented on the

BBB website has been given the same failing grade:




       15.     Incredibly, after all of these legal actions – an enforcement action by the DC AG,

the 55-plaintiff Lehnert federal class action lawsuit, a second 10-plaintiff Tuan federal class-

action lawsuit, and a second enforcement action by the DC AG (not to mention hundreds of




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consumer complaints through online and other channels)7 – TSI still refuses to take any action to

change its conduct. Even a health and economic crisis will not change TSI’s “business model.”

       16.     In this action, TSI’s conduct is particularly reprehensible as it is stealing hard-

earned money New Yorkers now need more than ever to pay for the necessities of life – such as

food and rent for themselves and their families – despite the fact that its gyms are closed and TSI

is not able to provide the services for which it is charging customers.

       17.     Ms. Namorato, together with the Class she seeks to represent, brings this action to

send a message for once and for all to TSI that this conduct will not be tolerated, whether in New

York or elsewhere. Ms. Namorato seeks declaratory, injunctive and monetary relief – in the

greatest amount permitted by law – due to TSI’s unlawful conduct in violation of New York

General Business Law (“GBL”) §349 and §624 and for common law breach of contract.

                                 JURISDICTION AND VENUE

       18.     The Court has diversity jurisdiction over this action pursuant to 28 U.S.C. §

1332(a)(1) because there is diversity of residence of the named parties. The Court also has

diversity jurisdiction pursuant to the Class Action Fairness Act, 28 U.S.C. 1332(d), because the

proposed Class has more than 100 members, contains at least one member of diverse citizenship

from Defendants and the amount in controversy exceeds $5 million.

       19.     The Court has personal jurisdiction over Defendants because Defendants are

authorized to and do conduct substantial business in the Southern District of New York.




7
         TSI has also stated in its 2020 10-K report that the New York City Department of
Consumer Affairs is also pursuing claim against the company. See
https://investor.mysportsclubs.com/static-files/3218e839-c8aa-4d2a-ad14-907e8f27ffd6 (last
accessed March 25, 2020).


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       20.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1), because a

substantial part of the events giving rise to this action occurred in this District as Defendants’

policies and practices were made and acted upon within this District.

                                             PARTIES

       21.     Plaintiff Mary Namorato is an adult resident of New York County, New York.

Ms. Namorato has been a NYSC gym member from approximately January 2019 through the

present.

       22.     Defendant Town Sports International, LLC is a domestic limited liability

company with its primary business being the running and operating of gyms under the brands

New York Sports Clubs, Boston Sports Clubs, Washington Sports Clubs and Philadelphia Sports

Clubs, and which has a principal place of business located at 5 Penn Plaza, 4th Floor, New York,

New York 10001.

       23.     Defendant Town Sports International Holdings, Inc. d/b/a New York Sports Clubs

is a foreign corporation incorporated in Delaware with its primary business being the running

and operating of gyms under the brands New York Sports Clubs, Boston Sports Clubs,

Washington Sports Clubs and Philadelphia Sports Clubs, and which has a principal place of

business located at 1001 US North Highway 1, Suite 201, Juniper, Florida 33477.

                                  FACTUAL ALLEGATIONS

I.     Background

       24.     Town Sports International, LLC is one of the largest owners/operators of fitness

clubs in the country with approximately 605,000 current members of approximately 186 gyms

located in New York, Massachusetts, Washington, D.C., Pennsylvania, Connecticut, Maryland,




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New Jersey, Rhode Island and Virginia.8 NYSC is far and away TSI’s largest brand with 99

locations.

       25.     TSI’s annual revenue is approximately $466 million per year, the vast bulk of

which comes from membership fees charges. According to TSI’s website, memberships range in

rate from approximately $30/mo. to $120/mo. Upon information and belief, nearly all of TSI’s

memberships are paid through credit cards maintained on file which are subject to automatic

monthly or annual charges.

       26.     TSI and its customers enter into contracts (either verbal or written) which provide

that TSI will provide access to its gym facilities in exchange for these monthly membership dues.

Accordingly, to the extent a customer does not make its membership dues payments, TSI will

revoke that customer’s gym access. Upon information and belief, TSI regularly revokes gym

access to members who stop paying membership dues.

       27.     Moreover, at the time of enrollment, TSI has a reported practice in which its sales

representative verbally states the terms of membership and obtain customer agreement to those

terms. These sales representatives state the terms to be that the customer will pay a monthly (or

annual) membership fee in exchange for gym services and access, and that the contract can be

terminated by the customer at any time. The sales representative will then ask the customer to

sign an electronic pad.

       28.     Little do customers know, but TSI reportedly uses these electronic pads to

“capture” the customer’s signature and then “paste” it onto an electronic contract which has

numerous terms the customer was never informed about, let alone ever agreed to. Among these




8
       Information based on TSI’s 2019 Annual Report.



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terms are provisions that make cancellation extremely difficult and permit TSI to continue

charging fees even after the member has cancelled his or her membership.

II.    TSI’s Response to the Novel Coronavirus/COVID-19 Pandemic

       29.     In February and early-March 2020, the novel coronavirus pandemic began its

sweep through the United States. As of the date of this filing, throughout the country there have

been almost 70,000 reported positive tests more than 1,000 deaths. New York State has been hit

particularly hard and is widely considered the domestic epicenter of this crisis. New York State

has had more than 30,000 positive tests and almost 400 deaths.

       30.     This existential crisis has plunged the entire country into an economic recession.

New Yorkers are feeling a particularly hard economic hit. Reports have stated that 29 percent of

New York households have reported a job loss, and unemployment filings and inquiries are

currently reaching unprecedented levels. The federal government is weighing an unprecedented

multi-trillion dollar spending bill to save the economy.

       31.     Amid this health and economic crisis, TSI announced that it was closing all gyms

in New York, New Jersey and Connecticut (all NYSC branded gyms) effective 8:00 p.m. on

March 16, 2020. TSI announced that these closures were effective immediately and would

continue indefinitely pending further notification. NYSC’s website announces these closures:




       32.     However, despite closing its gyms, TSI has continued to charge customers for

membership dues, has retained the portion of previously-received membership dues which were




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unused and has made it excessively difficult for customers to cancel their memberships during

this difficult time.

        33.     TSI has engaged in fraudulent consumer conduct in that it misrepresented to

customers that it would provide gym services and gym accessibility in exchange for membership

dues. However, it has taken and/or retained membership dues at a time when it is not providing

gym services or gym accessibility. TSI has engaged in further fraudulent consumer conduct by

misrepresenting to customers that they could cancel their memberships at any time, but then

refusing to honor customer cancellation requests.

        34.     TSI has breached its contracts with its customers by taking, accepting and/or

retaining membership dues and failing to provide the contractually-agreed-upon services. TSI

has further breached its contracts by telling customers they could cancel their memberships at

any time but then refusing to honor cancellation requests.

III.    PLAINTIFF MARY NAMORATO

        35.     On or around January 28, 2019, Ms. Namorato joined the NYSC located at Grand

Central Station in New York City.

        36.     Ms. Namorato enrolled by visiting the Grand Central Station location in person

and meeting with a sales representative named Christopher Starr.

        37.     Mr. Starr informed Ms. Namorato that TSI would offer her a particular type of

gym membership for $69.99 per month, which would be automatically billed to her credit card.

Mr. Starr also informed Ms. Namorato that she could cancel her membership with no problem.

        38.     Ms. Namorato was never told she needed to engage in any particular type of

communication to effectuate a cancellation request or “jump through hoops” to cancel her

membership.




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       39.     Ms. Namorato was instructed to sign an electronic pad to effectuate this

agreement and was never told that her signature would be superimposed onto any contract or

used for any purpose such as to say she agreed to any other terms. The electronic pad Ms.

Namorato signed did not display any contract terms.

       40.     On March 1, 2020, TSI charged Ms. Namorato $69.99 for her monthly use and

access to TSI’s gyms. Ms. Namorato paid this amount.

       41.     On March 16, 2020, and through to the present and continuing indefinitely, TSI

has ceased providing Ms. Namorato any gym services or gym accessibility.

       42.     TSI has not returned and has retained Ms. Namorato’s payment for services

during a period in which TSI has not provided the agree-upon services.

       43.     TSI has not communicated with Ms. Namorato in any manner as to how it will

handle the coronavirus crisis.

       44.     On March 17, 2020, Ms. Namorato emailed TSI at their unintentionally ironically

named email address: HereToHelp@tsiclubs.com. Ms. Namorato asked for information

concerning suspension of membership charges while the gyms were closed. No one from TSI

ever responded.

       45.     Ms. Namorato has also filed several similar complaints via TSI’s Facebook page.

However, TSI has refused to provide Ms. Namorato any information about how it will handle her

cancellation request or whether it will ensure she is not charged and/or refunded for unused

membership fees.

       46.     As a result, Ms. Namorato sought help from the New York City Public

Advocate’s office and the New York State Attorney General’s office (“NY AG”), submitting

complaints to each office regarding TSI’s conduct.




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       47.     Ms. Namorato was informed by the NY AG’s office that – despite the NY AG’s

office insistent to TSI’s senior leadership that it was improper – “New York Sports Club is not

automatically freezing or cancelling memberships, is only permitting members to freeze or

cancel their membership by mail, and freezes and cancellations are subject to certain fees”

       48.     Ms. Namorato has been charged membership fees for March which have not been

used and have not been refunded. Ms. Namorato has also been denied her right to cancel her

membership at any time upon request.

       49.     This conduct constitutes fraudulent consumer conduct in violation of GBL §349,

§624 as well as a common law breach of contract.

                               CLASS ACTION ALLEGATIONS

       50.     Plaintiff brings her claims as a class action pursuant to Fed. R. Civ. P. 23 on

behalf of herself and on behalf of all other similarly situated persons who were (i) charged fees

for a period in which services were not provided, or (ii) were not permitted to cancel their

memberships after TSI refused to provide the agreed-upon services (the “Class”).

       51.     The claims of the Class are the same as or substantially similar to those of

Plaintiff, and the Class, like Plaintiff, has been subject to the same unlawful conduct.

       52.     As a result of Defendants’ conduct as alleged herein, Defendants have engaged in

violations of GBL §349 and §624, as well as engaged in common law breach of contract.

       53.     Defendants’ violations of GBL §349, §624 and common law breach of contract

have been willful, repeated, knowing, intentional and without a good-faith basis, and have

significantly damaged Plaintiff and the Class.

       54.     As a result of Defendants’ conduct, Defendants are liable to Plaintiff and the

Class for the full amount of any economic and monetary loss suffered by Plaintiff and the Class,



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the full value of the services Plaintiff and the Class have been denied and/or not had access to

and any and all other actual, statutory or other applicable damages.

       55.     Certification of the Class’s claims as a class action is the most efficient and

economical means of resolving the questions of law and fact common to Plaintiff’s claims and

the claims of the Class.

       56.     Plaintiff has standing to seek such relief because of the adverse effect that

Defendants’ unlawful conduct has had on her individually and on members of the Class.

       57.     Without class certification, the same evidence and issues would be subject to re-

litigation in a multitude of individual lawsuits with an attendant risk of inconsistent adjudications

and conflicting obligations.

       58.     Certification of the Class is the most efficient and judicious means of presenting

the evidence and arguments necessary to resolve such questions for Plaintiff, the Class and

Defendants.

       59.     Plaintiff’s claims raise questions of law and fact common to the Class. Among

these questions are:

               a.      Whether Defendants contracted with Plaintiff and the Class
                       to provide gym services;

               b.      Whether Defendants charged Plaintiff and the Class for
                       services which were not provided;

               c.      Whether Defendants retained payments from Plaintiff and
                       the Class for services which were not provided;

               d.      Whether Defendants engaged in deceptive and/or
                       misleading consumer conduct towards Plaintiff and the
                       Class;

               e.      Whether Defendants’ unlawful conduct towards Plaintiff
                       and the Class constitutes a violation of GBL §349 and
                       §624.



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               f.      Whether Defendants’ unlawful conduct towards Plaintiff
                       and the Class constitutes a breach of contract.

               g.      Whether Defendants’ conduct was and/or has been
                       intentional.

       60.     These common questions of law and fact arise from the same course of events,

and each Class member will make similar legal and factual arguments to prove liability.

       61.     Plaintiff is a member of the Class that she seeks to represent.

       62.     Plaintiff’s claims are typical of the claims of the Class.

       63.     The relief Plaintiff seeks for the unlawful conduct complained of herein is also

typical of the relief sought on behalf of the Class.

       64.     Plaintiff’s interests are co-extensive with those of the Class that she seeks to

represent.

       65.     Plaintiff is willing and able to represent the Class fairly and to vigorously pursue

her similar individual claims in this action.

       66.     Plaintiff has retained counsel who are qualified and experienced in class action

litigation, and who are able to meet the time and fiscal demands necessary to litigate a class

action of this size and complexity.

       67.     Defendants have acted or refused to act on grounds generally applicable to the

Class, making final injunctive and declaratory relief appropriate with respect to the Class.

       68.     Injunctive and declaratory relief is a significant component of the relief sought by

Plaintiff on behalf of herself and the Class.

       69.     The common issues of fact and law affecting Plaintiff’s claims and those of the

Class members, including the common issues identified above, predominate over any issues

affecting only individual claims.




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       70.     The Class is so numerous that joinder of all members is impracticable. While the

exact number of the Class is unknown at the present time, it is estimated that the Class is

comprised of at least 250,000 members.

                                FIRST CLAIM FOR RELIEF
                            (New York General Business Law §349)
                              On Behalf of Plaintiff and the Class

       71.     Plaintiff, on behalf of herself and the Class, realleges and incorporates by

reference all preceding paragraphs as if they were set forth again herein.

       72.     As alleged herein, Defendants have been engaged, and continue to engage, in

consumer-oriented conduct towards Plaintiff and the Class that was and continues to be false,

misleading and deceptive in a material way.

       73.     Plaintiff and the Class justifiably relied on Defendants’ misrepresentations that

Defendants would provide gym services and gym accessibility in exchange for membership dues

and/or fees.

       74.     Plaintiff and the Class suffered, and continue to suffer, injury and damages as a

result of the deceptive conduct alleged herein, including, but not limited to:

                      Loss of monies paid to Defendants for periods in which
                       gym services and gym accessibility were not provided;

                      Loss of monies paid to Defendants for periods after which a
                       request for cancellation was made.

       75.     Defendants’ conduct constitutes a willful violation of GBL §349.

       76.     Plaintiff, on behalf of herself and the Class, seek the maximum amount of

damages available by law for Defendants’ unlawful conduct.




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                                SECOND CLAIM FOR RELIEF
                             (New York General Business Law §624)
                               On Behalf of Plaintiff and the Class

       77.     Plaintiff, on behalf of herself and the Class, realleges and incorporates by

reference all preceding paragraphs as if they were set forth again herein.

       78.     GBL §624(1) provides that:

               Every contract for services at a planned health club or a health club
               under construction shall, at the option of the buyer, be voidable in
               the event that the health club and the services to be provided
               pursuant to such contract are not available within one year from
               the date the contract is executed by the buyer.

       79.     Defendants violated this provision insofar as TSI has not permitted Plaintiff and

the members of the Class to cancel and/or void their contracts.

       80.     GBL §624(3) provides that gym customers may cancel their memberships “[i]f

the services cease to be offered as stated in the contract.”

       81.     Defendants violated this provision by refusing to cancel memberships despite

ceasing to offer services as stated in the contract.

       82.     Plaintiff, on behalf of herself and the Class, seek the maximum amount of

damages available by law for Defendants’ unlawful conduct.

                                 THIRD CLAIM FOR RELIEF
                                      (Breach of Contract)
                                On Behalf of Plaintiff and the Class

       83.     Plaintiff, on behalf of herself and the Class, realleges and incorporates by

reference all preceding paragraphs as if they were set forth again herein.

       84.     Defendants entered into contracts (both written and unwritten) with Plaintiff to

provide gym services and accessibility to them in exchange for monetary consideration. As a




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term of these contracts, Plaintiff and/or the Class were permitted to cancel their memberships at

any time.

       85.     As alleged herein, Defendants have breached their contracts with Plaintiff and/or

the Class by failing to provide gym services and accessibility yet continuing to charge and/or

retain membership dues.

       86.     As alleged herein, Defendants have breached their contracts with Plaintiff and/or

the Class by refusing to allow Plaintiff and/or the Class to cancel their memberships at any time.

       87.     As alleged herein, as a result of Defendants’ breach, Plaintiff and the Class have

suffered, and continue to suffer, damages, including, but not limited to, the membership dues

charges and/retained.

       88.     Plaintiff, on behalf of herself and the Class, seek the maximum amount of

damages available by law for Defendants’ unlawful conduct.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and the Class, respectfully requests that

this Court:

       A.      Declare that the practices complained of herein are unlawful under New York

State statutory and common law;

       B.      Enjoin Defendants from continuing to engage in these unlawful practices;

       C.      Enjoin Defendants from retaliating against Plaintiff and the Class;

       D.      Certify this action as a class action pursuant to Fed. R. Civ. P. 23;

       E.      Designate Plaintiff as a representative of the Class;

       F.      Designate Plaintiff’s counsel as counsel of record for the Class;




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       G.       Determine the damages sustained by Plaintiff and the Class as a result of

Defendants’ unlawful conduct, and award those damages against Defendants and in favor of the

Plaintiff and the Class, plus such pre-judgment and post-judgment interest as may be allowed;

       H.       Award Plaintiff and the Class any applicable statutory damages;

       I.       Award Plaintiff and the Class any and all other applicable damages;

       J.       Award Plaintiff and the Class their reasonable attorneys’ fees and costs; and

       K.       Grant Plaintiff and the Class such other and further relief that the Court deems

just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff, on behalf of herself and the Class, hereby demands a trial by jury on all issues

of fact and damages.

Dated: March 26, 2020
       New York, New York                             Respectfully submitted,

                                                      WIGDOR LLP


                                                      By: ___________________________
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